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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,

v.                                                                      CASE NO. 8:03-CR-446-T-30

DONALD MOORE LIVINGSTON POMARE,

      Defendant.
________________________________________/

                                                   ORDER

         This Cause is before the Court upon Defendant’s pro se Motion for Relief from

Judgment of Conviction and Sentence (Dkt. 129). Because the motion challenges the validity

of the judgment and sentence in Defendant’s criminal case, the proper motion is a motion to

vacate, pursuant to 28 U.S.C. § 2255.1

         Castro v. United States, 540 U.S. 375 (2003), instructs that a District Court must

advise a movant it intends to recharacterize a criminal post-conviction motion as a § 2255

motion and warn the movant about the consequences of recharacterizing the motion as a



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           28 U.S.C. § 2255 affords the exclusive remedy for challenging a federal conviction and sentence, unless
the remedy is inadequate or ineffective. See Bradshaw v. Story, 86 F.3d 164, 166 (10th Cir. 1996); Broussard v.
Lippman, 643 F.2d 1131, 1134 (5th Cir. 1981). § 2255(f)’s time limit on bringing a § 2255 motion does not make §
2255's remedy inadequate or ineffective. Cradle v. United States ex rel. Miner, 290 F.3d 536, 539 (3d Cir. 2002)
("Section 2255 is not inadequate or ineffective merely because . . . the one-year statute of limitations has
expired[.]"); see also Gilbert v. United States, 640 F.3d 1293, 1307-08 (11th Cir. 2011). Defendant’s request for
relief under a writ of audita querela is denied as “a writ of audita querela may not be granted when relief is
cognizable under § 2255.” United States v. Davis, 352 F. Appx. 314, 315-16 (11th Cir. 2009) (quoting United States
v. Holt, 417 F.3d 1172, 1175 (11th Cir. 2005). Defendant’s request for relief under Fed. R. Civ. P. 60(b) is also
denied as a Rule 60(b) motion cannot be used to circumvent § 2255's procedural bars. See Gonzalez v. Sec’y for the
Dep’t of Corr., 366 F.3d 1253, 1277, 1277 n.11 (11th Cir. 2004) (en banc).
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motion seeking relief pursuant to § 2255. The Court hereby advises Defendant of its

intention to recharacterize his motion as a motion to vacate, set aside, or correct sentence

pursuant to 28 U.S.C. § 2255 unless Defendant informs the Court otherwise.

         The Court cautions Defendant that such recharacterization will render this motion

subject to each of the procedural limitations imposed upon § 2255 motions. Specifically,

Defendant is cautioned that after its characterization as a § 2255 motion, the motion will be

subject to the one (1) year period of limitation.2 Accordingly, Defendant should also address

the motion’s untimeliness, falling as it will well beyond one (1) year from September 5,

2005, the date Defendant’s judgment became final.

         Finally, the Court advises Defendant that, in addition to addressing the foregoing

issue, he should amend his motion to assert all additional claims pursuant to 28 U.S.C. §

2255 on which he wishes to challenge the conviction and sentence imposed upon him by this

Court.

         Accordingly, the Court ORDERS that on or before April 11, 2013, Defendant shall

advise this Court whether he seeks to do one (1) of the following:




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            “A 1-year period of limitation shall apply to a motion under this section.” 28 U.S.C. § 2255(f). The
recent case of United States v. Bellaizac-Hurtado, 700 F.3d 1245 (11th Cir. 2012), would not entitle Defendant to a
delayed start of the limitation period under § 2255(f)(3) as Bellaizac-Hurtado is a circuit court decision, and §
2255(f)(3) requires the recognition of a new right by the Supreme Court in order to delay the limitation period’s
start. 28 U.S.C. § 2255(f)(3). Bellaizac-Hurtado is also not a “fact” for the purposes of a delayed limitation period
under § 2255(f)(4), which provides for beginning the limitation period on “the date on which the facts supporting the
claim or claims presented could have been discovered through the exercise of due diligence.” 28 U.S.C. §
2255(f)(4); See Madaio v. United States, 397 Fed. Appx. 568, 570 (11th Cir. 2010) (unpublished) (finding “the
discovery of a new court legal opinion, as opposed to new factual information affecting the claim, does not trigger
the limitations period.”).

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       1.     Proceed before this Court pursuant to 28 U.S.C. § 2255 on those claims

presented in his Motion for Relief from Judgment of Conviction and Sentence (Dkt. 129);

       2.     Amend his motion to assert all additional claims pursuant to 28 U.S.C. § 2255

on which he wishes to challenge the conviction and sentence imposed upon him by this

Court; or

       3.     Withdraw his Motion for Relief from Judgment of Conviction and Sentence

(Dkt. 129).

       Defendant is CAUTIONED that if he fails to file a timely response in compliance

with this Order, which requires that he advise the Court that he wishes to do one of the

above, the Clerk will be directed to open a civil case, and this Cause shall proceed as an

action under 28 U.S.C. § 2255, with the Court considering only those claims presented in his

original motion (Dkt. 129).

       The Clerk of Court is DIRECTED to provide Defendant with the form used for filing

a motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255 with

Defendant’s copy of this Order.

       DONE and ORDERED in Tampa, Florida on March 12, 2013.




Copies furnished to:
Counsel/Parties of Record

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